My name is Connie Niklasen. I am a mom to 5 kids. I have been a 4‐H leader for 15 years. I have been
practicing veterinary medicine for 22 years, in both large and small animal medicine, and have
specialized certifications in veterinary chiropractics and acupuncture. I was an adjunct professor at
University of Wisconsin‐Platteville in 2020. I am currently a member of the Dubuque County Humane
Society Board of Directors, work as an associate veterinarian (small animal practice) at Adams Pet
Hospital, and have my own veterinary chiropractic and acupuncture business (primarily large animal
practice.)
I started working with Kristi Schreiber in July 2018 at Adams Pet Hospital. We both served as associate
veterinarians in a 3 doctor practice, so we had a consistent schedule of working together at least 2 days
a week. We did not gather socially since we were both active with family responsibilities outside
working hours.
I know Kristi to be a very smart, conscientious, and empathetic veterinarian. She is an actively engaged
mom, and she had a kind, loving, respectful relationship with her kids when they were at the office
together.
I don’t know anything about a community reputation regarding Kristi.
I think Kristi tried very hard to manage a young family and a full time job that required weekly/frequent
week‐end on‐call shifts, and is well documented as one of the most mentally and emotionally
challenging careers. If I happened to catch her on a phone call with her kids, or witness an interaction in
person, I found her to be supportive, with good communication abilities, and creative/effective
parenting skills. Veterinary workdays involve a high level of multitasking, and she seemed capable of
managing quick changes in cases and the occasional family interruption.
I don’t recall anything about Kristi’s religious beliefs.
I cannot fathom what sense there would be for imposing jail time for Kristi. I don’t know the details of
why she started using the medications as indicated in this case, but my broad understanding is that it
involved emotional pain. A jail sentence would only serve to heighten that pain as she is separated from
her family and support system. My understanding is that she has been seeking professional help for a
considerable amount of time already, and is following professional recommendations. In my opinion, a
jail sentence would undo any progress she has already made, with a distinct possibility that it sets her
back further, which is beyond the scope of what a sentence would serve. I don’t see her as a threat to
self or others, so removal from her family serves no purpose to my mind.
I believe Kristi would bring to bear all of her skills in a community service setting. To my understanding
she was very involved with organized activities with her children, and would look for more service
opportunities.
I believe Kristi is extremely apologetic for her actions and how they affected her family and social circle,
and she is learning how those actions affected the veterinary profession. While I am very well aware of
the shock wave that occurred in the veterinary community and in the practice setting when we were
made aware of her actions, I fail to see how those actions were a big detriment/threat to the
community at large. Professional and personal consequences are required, of course, but I believe she
would do best, and then continue to contribute gainfully to society, by allowing her to stay with her
family, and giving her access to programs that support her healing and personal re‐emergence with
more suitable coping skills.

Respectfully submitted 09/21/2022,


                                                                                                  DEFENDANT'S
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Connie J. Niklasen, DVM, CVSMT, CVA
                                                                                                CASE
                                                                                                NO.       22-CR-1012



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